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                                  UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA
                                      CLERKS MINUTES - CIVIL


CASE NO.         519cv109                                               DATE:        4/12/2022
TITLE:       Brantley County Development Partners, LLC v. Brantley County, Georgia, et al.


HONORABLE BENJAMIN W. CHEESBRO COURTROOM DEPUTY CLERK: KIM MIXON
COURT REPORTER:
TAPE NO.         BWC-                 TIME:       3:00-3:13               TOTAL:         13 minutes
                 CHAMBERS
COUNSEL FOR PLAINTIFF                  COUNSEL FOR                         DEFENDANT
Mark Johnson                           Rachael Slimmon                     Brantley County, Georgia, et al.
George Rountree                        Robert Marcovitch
Kyler Wise

Telephonic status call held as follow-up to call on March 30, 2022.
Court hears from parties.
Plaintiff does not anticipate filing motions in limine or any Daubert motions at this point. Plaintiff’s motion
for summary judgment is ripe for adjudication.
Rachel Slimmon for defense indicates that the only discovery issue concerns supplementation to
Plaintiff’s initial disclosures related to damages.
Court orders the following schedule: Defense to serve supplemental initial disclosures by 5/3/2022.
Deadline for submission of Defendant’s motion for summary judgment will be 6/1/2022. Written Order to
follow.
